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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


                                          )
PATRICK BIRMINGHAM, M.D.                  )       Civil Action No. 18-CV-02852
                                          )
                     Plaintiff,           )       HONORABLE MARVIN E. ASPEN
                                          )
v.                                        )
                                          )
GODFEY & KAHN, S.C. and JAMES             )
JOYCE                                     )
                Defendants                )
                                          )

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           NOTICE OF CHANGE OF ADDRESS
———————————————————————————————————————

       The following counsel hereby submits this Notice of Change of Address.

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Dated: November 6, 2019                                  Respectfully submitted,
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                                                         ATTORNEY FOR PLAINTIFFS




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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was served upon all

counsel of record via the electronic filing system on this the 6th day of November, 2019.




                                                                    /s/ Derek Gilliland
                                                                    Derek Gilliland




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